        Case 1:13-mj-02114-HBS Document 15 Filed 09/16/13 Page 1 of 8




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

              v.
                                                               13-M-2114

DAVID B. PATEL,

                       Defendant.



                                    PLEA AGREEMENT


       The defendant, DAVID B. PATEL, and the United States Attorney for the Western

District ofN ew York (hereinafter "the government") hereby enter into a plea agreement with

the terms and conditions as set out below.



                       I. THE PLEA AND POSSIBLE SENTENCE



       1.     The defendant agrees to plead guilty to a one-count Information charging a

violation of Title 8, United States Code, Section 1325(a)(3) (improper entry by alien), for

which the maximum possible sentence is a term of imprisonment of six (6) months, a fine of

$5,000, and a mandatory $10 special assessment.       The defendant understands that the

penalties set forth in this paragraph are the maximum penalties that can be imposed by the

Court at sentencing.




                                             1
        Case 1:13-mj-02114-HBS Document 15 Filed 09/16/13 Page 2 of 8




                         II. ELEMENTS AND FACTUAL BASIS



       2.     The defendant understands the nature of the offense set forth in     ~   1 of this

agreement and understands that if this case proceeded to trial, the government would be

required to prove beyond a reasonable doubt the following elements of the crime:

       a.     The defendant was an alien;

       b.     The defendant entered the United States;

       c.     The defendant made a false or misleading representation regarding a
              material fact, or concealed a material fact, for the purpose of gaining
              entry; and

       d.     The defendant acted willfully.



                                      FACTUAL BASIS



       3.     The defendant and the government agree to the following facts, which form the

basis for the entry of the plea of guilty including relevant conduct:



       On August 10, 2013, at approximately 11:00 a.m., the defendant, a native and
       citizen of Canada, entered the United States from Canada at the Whirlpool
       Bridge Port of Entry, Niagara Falls, New York. While at the Port ofEntry,
       the defendant told a Customs and Border Protection officer that he was
       entering the United States to shop at Wal-Mart and Sam's Club. The
       defendant was admitted to the United States under this premise as a B-2,
       non-immigrant visitor. In truth, however, the defendant was entering for the
       purpose of retrieving a firearm part, an AR-15 upper receiver, at a mailbox in
       Niagara Falls, New York, which the defendant had ordered over the Internet
       and intended to take back to Canada in violation of the laws of the United
       States. Had the defendant provided truthful information concerning the
       purpose of his visit, he would not have been admitted to the United States.
                                                2
        Case 1:13-mj-02114-HBS Document 15 Filed 09/16/13 Page 3 of 8




                            III. SENTENCING GUIDELINES



       4.     Pursuant to Guidelines § 1B 1. 9, the Guidelines do not apply to this conviction.

Nevertheless, the defendant understands that at sentencing the defendant is subject to the

maximum penalties set forth in paragraph 1 of this agreement.



       5. Notwithstanding the above calculations, it is the agreement of the parties pursuant

to Rule 11 (c)( 1)(C) of the Federal Rules of Criminal Procedure that the Court at the time of

sentence impose a fine of $5,000 as part of the appropriate sentence in this case. If, after

reviewing the presentence report, the Court rejects this agreement, the parties will be relieved

of their other obligations under this agreement and the defendant shall then be afforded the

opportunity to withdraw the plea of guilty.        This agreement does not affect any other

component of the sentence that may be imposed by the Court.



                           IV. STATUTE OF LIMITATIONS



       6.     In the event the defendant's plea of guilty is withdrawn, or his conviction is

vacated, either pre- or post-sentence, by way of appeal, motion, post-conviction proceeding,

collateral attack or otherwise, the defendant agrees that any charges dismissed pursuant to

this agreement shall be automatically reinstated upon motion of the government and further

agrees not to assert the statute of limitations as a defense to any other criminal offense

involving or related to improper entry to the United States by an alien; making a false


                                               3
        Case 1:13-mj-02114-HBS Document 15 Filed 09/16/13 Page 4 of 8




statement; or unlawful possession of a firearm, which is not time barred as of the date of this

agreement. This waiver shall be effective for a period of six months following the date upon

which the withdrawal of the guilty plea or vacating of the conviction becomes final.



                 V. GOVERNMENT RIGHTS AND RESERVATIONS



       7.     The defendant understands that the government has reserved the right to:

       a.     provide to the Probation Office and the Court all the information and
              evidence in its possession that the government deems relevant
              concerning the defendant's background, character and involvement in
              the offense charged, the circumstances surrounding the charge and the
              defendant's criminal history;

       b.     respond at sentencing to any statements made by the defendant or on
              the defendant's behalf that are inconsistent with the information and
              evidence available to the government; and

       c.     advocate for a specific sentence consistent with the terms of this
              agreement, including the amount of restitution and/ or fine and the
              method of payment.



       8.     At sentencing, the government will move to dismiss the Criminal Complaint

pending against the defendant under Magistrate's No. 13-MJ-2114.



                                  VI. APPEAL RIGHTS



       9.     The defendant understands that Title 18, United States Code, Section 3742

affords a defendant a limited right to appeal the sentence imposed. The defendant, however,


                                              4
        Case 1:13-mj-02114-HBS Document 15 Filed 09/16/13 Page 5 of 8




knowingly waives the right to appeal and collaterally attack any component of a sentence

imposed by the Court which is within the statutory maximum penalties set forth in paragraph

1, above, notwithstanding the manner in which the Court determines the sentence. In the

event of an appeal of the defendant's sentence by the government, the defendant reserves the

right to argue the correctness of the defendant's sentence.



       10.     The defendant understands that by agreemg not to collaterally attack the

sentence, the defendant is waiving the right to challenge the sentence in the event that in the

future the defendant becomes aware of previously unknown facts or a change in the law

which the defendant believes would justify a decrease in the defendant's sentence.



       11.     The government waives its right to appeal any component of a sentence

imposed by the Court which is within the statutory maximum penalties set forth in paragraph

1, above, notwithstanding the manner in which the Court determines the sentence.

However, in the event of an appeal from the defendant's sentence by the defendant, the

government reserves its right to argue the correctness of the defendant's sentence.



        VII.    FORFEITURE/DISPOSAL PROVISIONS: FIREARM PARTS



       12.     Upon the defendant's conviction of the Information, the defendant agrees to

the forfeiture of all of his right, title, and interest including but not limited to the following

property pursuant to Title 18, United States Code, Sections 924(d), and 3665; and Title 28,

United States Code, Section 2461(c):
                                                5
        Case 1:13-mj-02114-HBS Document 15 Filed 09/16/13 Page 6 of 8




       a.      16" 1:8 HBARAR-15 upper receiver;


       b.     DPMS AR-15 complete lower receiver parts kit;


       c.     BCM Gunfighter charging handle (5.56 mm) with Mod 3 (Large) latch;


       d.     Rock River Arms Winter Trigger Guard (AR-15); and


       e.     AR-15 bolt and bolt carrier group.



       13.    The defendant hereby waives any right to notice of a Preliminary Order of

Forfeiture and consents and agrees that it shall become final as to the defendant prior to

sentencing and agrees that the Order shall be made part of the defendant's sentence and

included in the judgment pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal

Procedure.



       14.    The defendant further agrees to the entry of orders of forfeiture for the

aforementioned property and waives the requirements of Federal Rules of Criminal

Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,

announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the

judgment. Defendant acknowledges that he understands that the forfeiture of property is

part of the sentence that may be imposed in this case and waives any failure by the court to

advise him of this, pursuant to Rule 11(b)(l)(J), at the time his guilty plea is accepted.




                                                6
        Case 1:13-mj-02114-HBS Document 15 Filed 09/16/13 Page 7 of 8




       15.    The defendant agrees that the above-described property is also subject to

forfeiture and waives any and all statutory and constitutional rights, including but not limited

to time restrictions and notice provisions with respect to the final disposition or forfeiture of

the above property. The defendant further agrees to the destruction of the firearm parts

described above.



                   VIII. TOTAL AGREEMENT AND AFFIRMATIONS



       16.    This plea agreement represents the total agreement between the defendant,

DAVID B. PATEL, and the government. There are no promises made by anyone other

than those contained in this agreement. This agreement supersedes any other pnor

agreements, written or oral, entered into between the government and the defendant.




                                            WILLIAM J. HOCHUL, JR.
                                            United States Attorney
                                            Western District ofNew York


                                     BY:
                                            FRANK T. PIMENTEL
                                            Assistant United States Attorney


                                            Dated: September / (, 2013




                                                7
        Case 1:13-mj-02114-HBS Document 15 Filed 09/16/13 Page 8 of 8




       I have read this agreement, which consists of8 pages. I have had a full opportunity to

discuss this agreement with my attorney, DOMINIC SARACENO, Esq. I agree that it

represents the total agreement reached between myself and the government. No promises or

representations have been made to me other than what is contained in this agreement. I

understand all of the consequences of my plea of guilty. I fully agree with the contents of this

agreement. I am signing this agreement voluntarily and of my own free will.




                                                   DOMINIC SARACENO, ESQ.
                                                   Attorney for the Defendant


Dated: September I(;;,, 2013                       Dated: September      /6', .2013




                                               8
